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                Exhibit 2
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                                                                                   January 11, 2023
                                                                                 CLERK, U.S. DISTRICT COURT
                                                                                 WESTERN DISTRICT OF TEXAS

                            UNITED STATES DISTRICT COURT                                               JU
                                                                              BY ________________________________
                             WESTERN DISTRICT OF TEXAS                                               DEPUTY

                                SAN ANTONIO DIVISION

 VIRGINIA NAVARRO,                               §
 Individually and on behalf of all others        §       CIVIL NO. SA-20-CV-00766-OLG
 similarly situated                              §
                                                 §
                        Plaintiff,               §
                                                 §       COLLECTIVE ACTION
 v.                                              §       PURSUANT TO 29 U.S.C. § 216(b)
                                                 §
 MARRIOTT INTERNATIONAL, INC.,                   §       CLASS ACTION
                                                 §       PURSUANT TO FED. R. CIV. P.
                        Defendant.               §       23(b)

                                         JUDGMENT

           WHEREAS, Plaintiff Virginia Navarro (“Plaintiff”), individually and as Class

Representative on behalf of the Class/Collective Members, and Defendant Marriott International,

Inc. entered into the Confidential Settlement Agreement and Release and the First Addendum to

Confidential Settlement Agreement and Release (together, the “Agreement”).

          WHEREAS, on August 22, 2022, the Court entered an Order that, among

other things, (a) found that the class and collective action settlement memorialized in the

Agreement fell withing the range of reasonableness and preliminarily approved its terms; (b)

preliminarily certified, pursuant to Federal Rule of Civil Procedure 23, a class action for the

purposes of settlement only; (c) conditionally certified, pursuant to 29 U.S.C. § 216(b) of the Fair

Labor Standards Act (“FLSA”), a collective action for the purposes of settlement only; (d)

conditionally certified, pursuant to Ohio Revised Code § 4111.10(C), a collective action for

settlement purposes only; (e) approved the form of notice to Class/Collective Members, and the

method of dissemination thereof; (f) directed that appropriate notice of the settlement be given to

the Class/Collective Members; and (e) set a hearing date for the settlement fairness hearing. Dkt.

No. 34.
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        WHEREAS, the notice to the Class/Collective Members ordered by the Court in its Order

has been provided, as attested to in the Declaration of Amanda Myette, filed with the Court with

the Plaintiff’s Unopposed Motion for Final Approval of Confidential Settlement Agreement and

Release. See Dkt. No. 39.

        WHEREAS, on January 11, 2023, a hearing was held on whether the settlement

set forth in the Agreement was fair, reasonable, adequate, and in the best interests of the

Class/Collective Members, such a hearing date being a due and appropriate number of days after

such notice to the Class/Collective Members;

        NOW THEREFORE, having reviewed and considered the submissions presented with

respect to the settlement set forth in the Agreement and the record in these proceedings, having

heard and considered the evidence presented by the parties and the argument of counsel, having

determined that the settlement set forth in the Agreement is fair, reasonable, adequate, and in the

best interests of the Class/Collective Members, and noting that, as set forth in the Agreement, and

good cause appearing therefore orders as follows,

        IT IS HEREBY ORDERED, ADJUDGED, and DECREED:

        1.     The Court incorporates by reference the definitions set forth in the Agreement. This

Court finds that the Class Representative fairly and adequately represents the Class/Collective

Members.

        2.     This Court has personal jurisdiction over the Class Representative and the

Class/Collective Members, and has subject matter jurisdiction over all claims asserted in the First

Amended Class/Collective Action Complaint. In addition, venue in the Western District of Texas

is proper.
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       3.      The Agreement is approved as fair, reasonable, and adequate, consistent and in

compliance with the applicable provisions of the United States Constitution, the FLSA, the Ohio

Minimum Fair Wage Standards Act (“OMFWSA”), and the Federal Rules of Civil Procedure, and

in the best interest of the Settlement Participants. The Agreement is binding on and will have res

judicata and preclusive effect in all pending and future lawsuits or other proceedings encompassed

by the Agreement maintained either by or on behalf of the Class Representative and all other

Settlement Participants, as well as their past, current, and future heirs, representatives, executors,

administrators, attorneys, predecessors, successors, and assigns.

       4.      The Notice of Settlement provided pursuant to the Agreement and the Order

granting preliminary approval of the Agreement:

               (a) Constituted the best practicable notice, under the circumstances;

               (b) Constituted notice that was reasonably calculated to apprise the Class/Collective

                   Members of the pendency of this lawsuit, their right to object or exclude

                   themselves from the proposed settlement, and to appear at the Final Approval

                   Hearing;

               (c) Was reasonable and constituted due, adequate, and sufficient notice to all

                   persons entitled to receive notice; and

               (d) Met all applicable requirements of the Federal Rules of Civil Procedure, the

                   FLSA, the OMFWSA, and the Due Process Clause of the United States

                   Constitution because it stated in plain, easily understood language the nature of

                   the action; the definition of the class certified; the class claims, issues, or

                   defenses; that a class member may enter an appearance through an attorney if

                   the member so desires; that the court will exclude from the class any member
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                   who requests exclusion; the time and manner for requesting exclusion; and the

                   binding effect of a class judgment on members under Rule 23(c)(3).

       5.      For settlement purposes only, that the requirements for class and collective

certification under 29 U.S.C. § 216(b), Ohio Revised Code § 4111.10(C), and Federal Rule of Civil

Procedure 23(a) and (b)(3) are satisfied.

       6.      The Agreement in this action warrants final approval pursuant to the FLSA, the

OMFWSA, and Rule 23(e) of the Federal Rules of Civil Procedure because it is fair, adequate, and

reasonable to those it affects, and resulted from vigorously contested litigation, including

meaningful discovery, motion practice, and extensive good-faith arm’s length negotiations

between the parties. Accordingly, this Court APPROVES the Agreement.

       7.      The Agreement is fair, reasonable, and adequate considering the following factors:

               (1) whether the settlement was a product of fraud or collusion;
               (2) the complexity, expense, and likely duration of the litigation;
               (3) the stage of the proceedings and the amount of discovery completed;
               (4) the factual and legal obstacles prevailing on the merits;
               (5) the possible range of recovery and the certainty of damages; and
               (6) the respective opinions of the participants, including class counsel, class
                   representative, and the absent class members.

       8.      Class Counsel and the Class Representative adequately represented the

Class/Collective Members for purposes of entering into and implementing the settlement.

       9.      The Confidential Settlement Agreement and General Release between the

previously named plaintiff, Rain Garcia (f/k/a Micheal Garcia), and Defendant (“Garcia Individual

Settlement Agreement”), attached as Exhibit A to the Agreement, is hereby approved as it provides

for the fair, reasonable, and adequate resolution of a bona fide dispute. The Garcia Individual

Settlement Agreement will have res judicata and preclusive effect in all pending and future

lawsuits or other proceedings encompassed by the Garcia Individual Settlement Agreement.
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       10.     The Confidential Settlement Agreement and General Release between

Representative Plaintiff Virginia Navarro and Defendant (“Navarro Individual Settlement

Agreement”), attached as Exhibit B to the Agreement, is hereby approved as it provides for the

fair, reasonable, and adequate resolution of a bona fide dispute. The Navarro Individual Settlement

Agreement will have res judicata and preclusive effect in all pending and future lawsuits or other

proceedings encompassed by the Navarro Individual Settlement Agreement.

       11.     Class Counsel’s requested fees and expenses of $300,000.00, and as set out in their

Motion for Fees and Costs (Dkt. No. 37), are fair and were reasonably and necessarily incurred.

       12.     The Service Award of $5,000 to Plaintiff and the Separate Award of $5,000 to

Garcia (as set forth in the Agreement, to compensate the Class Representative and Rain Garcia for

their unique services in initiating and/or maintaining this litigation), are reasonable and are

approved.

       13.     Rust Consulting, Inc.’s expenses for administering the Settlement, including the

distribution of Notice and the settlement funds, are reasonable and are approved.

       14.      Nothing relating to this Order, or any communications, papers, or orders related to

the Agreement, shall be cited to as, construed to be, admissible as, or deemed an admission by

Defendant or the Released Parties of any liability, culpability, negligence, or wrongdoing toward

the Class Representative, Garcia, any of the Class/Collective Members, or any other person, or

that class or collective action certification is appropriate in this or any other matter. There has been

no determination by any Court as to the merits of the claims asserted by the Class Representative

against Defendant or as to whether a class or collective should be certified, other than for

settlement purposes only. Furthermore, nothing in the Parties’ Agreement shall be cited to as,
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construed to be, admissible as, or considered any form of waiver of any alternative dispute

resolution agreements, provisions, or policies by Defendants or the Released Parties.

       15.     In consideration of the consideration paid under the Agreement, and for other good

and valuable consideration, each of the Settlement Participants shall, by operation of this

Judgment, have fully, finally, and forever released, relinquished, and discharged all Released

Claims against Defendant and all Released Parties in accordance with the terms of the Agreement.

       16.     In the event that the Effective Date does not occur, this Judgment shall be rendered

null and void and shall be vacated, nunc pro tunc, and without prejudice to the status quo ante

rights of Plaintiff, Settlement Participants and Defendant.

       17.     This Court, on August 22, 2022, approved the class/collective settlement as

memorialized in the Agreement. This Court APPROVES the collective settlement and

amendments as they relate to the settlement of a collection action pursuant to 29 U.S.C. § 216(b).

       18.     All Settlement Participants and/or their representatives who have not been excluded

from the settlement by submitting a timely Opt-Out Request are permanently barred and enjoined

from bringing, filing, commencing, prosecuting, maintaining, intervening in, participating in (as

class/collective members or otherwise), or receiving any benefits from any other lawsuit (including

putative class/collective action lawsuits), arbitration, administrative, regulatory, or other

proceeding, order, or cause of action in law or equity in any jurisdiction that encompasses or are

duplicative of the Released State and Local Law Claims.

       19.     All Settlement Participants and/or their representatives who timely negotiate their

Individual Settlement Payment are permanently barred and enjoined from bringing, filing,

commencing, prosecuting, maintaining, intervening in, participating in (as class/collective

members or otherwise), or receiving any benefits from any other lawsuit (including putative
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class/collective action lawsuits), arbitration, administrative, regulatory, or other proceeding, order,

or cause of action in law or equity in any jurisdiction that encompasses or are duplicative of the

Released Federal Claims.

       20.     This lawsuit is dismissed on the merits and with prejudice, without fees or costs to

any party, except as provided above and/or in the Agreement.

       It is so ORDERED.


                    11th day of January, 2023.
       SIGNED this ______



                                                       ____________________________
                                                       ORLANDO L. GARCIA
                                                       United States District Judge
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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

VIRGINIA NAVARRO,            §                          Civil Action No. 5:20-cv-00766-OLG
Individually and on behalf of all others
                             §
similarly situated           §
                             §
    Plaintiff,               §                          COLLECTIVE ACTION
                             §                          PURSUANT TO 29 U.S.C. §216(b)
                             §
v.                           §
                             §
MARRIOTT INTERNATIONAL, INC. §                          CLASS ACTION PURSUANT
                             §                          TO FED. R. CIV. P. 23(b)(3)
    Defendant.               §


     PLAINTIFF’S UNOPPOSED MOTION FOR ATTORNEY FEES AND COSTS


TO CHIEF JUDGE ORLANDO L. GARCIA:

        Virginia Navarro, individually and as Representative of the Settlement Class/Collective (“Class

Representative” or “Plaintiff”), asks the Court to approve the negotiated award of attorneys’ fees and

costs included in the Settlement Agreement between the parties pursuant to Federal Rule of Civil

Procedure 23(h) and the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 216(b).

                                           I.
                                  SUMMARY OF ARGUMENT

        Plaintiff seeks to recover her attorneys’ fees and costs pursuant to the common benefit

doctrine and through § 16(b) of the FLSA. By and through Class/Collective Counsel ANDERSON

ALEXANDER, PLLC, the Plaintiff tactically and efficiently litigated this matter from its inception. Based

on their legal acumen, Class/Collective Counsel positioned the litigation for early, company-wide

resolution that confers significant financial value to the Settlement Class/Collective. Class/Collective

Counsel will show that the requested amount for attorneys’ fees and costs is reasonable under the

percentage of the fund utilized by this Court and the benchmark percentage of forty percent (40%) is


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not only appropriate, but is justified by the relevant Johnson factors, and is reasonable after engaging in

a Lodestar cross-check.

                                             II.
                                     PROCEDURAL HISTORY

           This is a hybrid collective and class action lawsuit for unpaid overtime wages brought by

Plaintiff on behalf of herself and all other similarly situated current and former hourly, non-exempt

Call Center Agents who have worked at one of Marriott’s U.S. Customer Engagement Centers

(“CEC”) during the applicable Covered FLSA Period and Covered State Law Period (collectively,

along with Plaintiff and all Current Opt-Ins, the “Class/Collective Members”) who Plaintiff claims,

were not properly compensated for all of the hours they worked. Plaintiff alleged claims under the

FLSA, 29 U.S.C. §§ 201 et seq., to recover unpaid overtime compensation and statutorily prescribed

penalties. In addition to her claims under the FLSA, Plaintiff further alleged state-law claims pursuant

to the laws of Florida, Kansas, Massachusetts, Nebraska, Ohio, Texas, and Utah as class and collective

actions.

           On July 1, 2020, Rain Garcia (“Garcia”) commenced this Action against Defendant, seeking

all available relief under the FLSA, 29 U.S.C. §§ 201, et seq., and applicable Texas state common law.

See ECF No. 1. On July 27, 2020, Marriott filed its Answer, disclaiming liability and asserting a number

of affirmative defenses. See ECF No. 13. Since Plaintiff filed the Original Collective/Class Action

Complaint, twenty-eight (28) individuals have filed their Opt-In Consent Forms to become party

plaintiffs in this action (the “Current Opt-Ins”).

           The Parties conferred as required by Federal Rule of Civil Procedure 26 and submitted their

joint proposed scheduling order to this Court. See ECF No. 21. This Court subsequently entered a

scheduling order and set the applicable deadlines as they applied to this matter. See ECF No. 22.

Included in those deadlines was a court-ordered requirement to begin Alternative Dispute Resolution

(“ADR”) discussions promptly. See id. ¶¶ 1–2. Plaintiff prepared a motion for conditional certification

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of an FLSA collective that requested the ability to send court-ordered notice to the Putative Collective

Members, but held the filing of that motion back—in the interest of pursuing settlement discussions

in good faith.

        As part of those discussions, the Parties entertained the possibility of early resolution on a

class and collective wide basis. Defendant agreed to produce data relevant to the Putative Class

Members, informally, to allow Class/Collective Counsel the opportunity to fully evaluate the claims

and available damages for the class and collective. The Parties also sought, and obtained, a stay of the

Action to permit them to participate in formal mediation. See ECF No. 27. The Parties attended a

virtual formal mediation with respected wage and hour mediator, Carole Katz, on June 23, 2021. The

Parties settled the matter, in principle, during the mediation and subsequently executed a

Memorandum of Understanding (“MOU”) further memorializing their agreement until the formal

settlement agreement could be drafted and executed. After extensive collaboration, and on March 15,

2022, the Parties fully executed the Agreement.

                                           III.
                                  ARGUMENT & AUTHORITIES

        “[W]hen a representative party has conferred a substantial benefit upon a class, counsel is

entitled to attorneys' fees based upon the benefit obtained.” Jenkins v. Trustmark Nat. Bank, 300 F.R.D.

291, 306 (S.D. Miss. 2014) (citing Boeing Co. v. Van Gemert, 444 U.S. 472, 478 (1980)). The common

benefit doctrine provides an exception to the “American Rule,” permitting the creation of a common

fund for the purpose of paying reasonable attorneys' fees. See Eldon E. Fallon, COMMON BENEFIT

FEES IN MULTIDISTRICT LITIGATION, 74 La. L. Rev. 371, 374–75 (2014). The common benefit

doctrine serves the “twin goals of removing a potential financial obstacle to a plaintiff's pursuit of a

claim on behalf of a class and of equitably distributing the fees and costs of successful litigation among

all who gained from the named plaintiff's efforts.” Jenkins, 300 F.R.D. at 306 (quoting In re Gould Sec.

Litig., 727 F. Supp. 1201, 1202 (N.D.Ill.1989) (citation omitted)). It stems from the premise that “those

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who receive the benefit of a lawsuit without contributing to its costs are ‘unjustly enriched’ at the

expense of the successful litigant.” Id. (quoting Van Gemert, 444 U.S. at 478). Accordingly, the Supreme

Court (and the Fifth Circuit) recognized that “[a] litigant or a lawyer who recovers a common fund

for the benefit of persons other than himself or his client is entitled to a reasonable attorney's fee from

the fund as a whole.” Id. at 306–07 (quoting Barton v. Drummond Co., 636 F.2d 978, 982 (5th Cir. 1981).

As such, the common benefit doctrine is applied in the class action context “to compensate attorneys

whose work benefits others similarly situated.” See id. Fallon, supra p. 3 at 375 (recognizing that “[i]n

class actions the beneficiary of the common benefit work is the claimant”).

        Courts also have recognized that common fund recoveries based on contingency fee

representation are especially beneficial to employee plaintiffs who may not possess the financial

resources to hire counsel on an hourly basis to pursue their claims:

        Common fund recoveries are contingent on a successful litigation outcome. Such
        contingency fees provide access to counsel for individuals who would otherwise have
        difficulty obtaining representation . . . and transfer a significant portion of the risk of
        loss to the attorneys taking a case. Access to the courts would be difficult to achieve
        without compensating attorneys for that risk. Many individual litigants, including the
        class members here, cannot afford to retain counsel at fixed hourly rates . . . yet they
        are willing to pay a portion of any recovery they may receive in return for successful
        representation.

Capsolas v. Pasta Res. Inc., No. 10-cv-5595, 2012 WL 4760910, *8 (S.D.N.Y. Oct. 5, 2012) (internal

citation and quotation omitted); see also 2019 EMPLOYEE BENEFITS CAS. (BNA) 97998 (4th Cir. 2019)

(recognizing that employee that benefits from a lawsuit without contributing to its costs, would be

unjustly enriched at the successful litigant's or lawyer's expense).

        In common fund cases such as this one, district courts typically use one of two methods for

calculating attorneys' fees:

        (1) the percentage method, in which the court awards fees as a reasonable percentage
        of the common fund; or (2) the lodestar method, in which the court computes fees by
        multiplying the number of hours reasonably expended on the litigation by a reasonable
        hourly rate and, in its discretion, applying an upward or downward multiplier.



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Duncan v. JPMorgan Chase Bank, N.A., No. SA-14-CA-00912-FB, 2016 WL 4419472, at *13 (W.D. Tex.

May 24, 2016), report and recommendation adopted, No. SA-14-CA-912-FB, 2016 WL 4411551 (W.D. Tex.

June 17, 2016) (quoting Union Asset Mgmt. Holding A.G. v. Dell, Inc., 669 F.3d 632, 642–43 (5th Cir.

2012) (joining the majority of circuits in allowing district courts the flexibility to choose between the

percentage and lodestar methods in common fund cases, with their analyses under either approach

informed by the Johnson considerations)).

        Here, Class Counsel ask this Court to apply the percentage fee method and award 40% of the

Maximum Settlement Amount as attorneys’ fees.

A.      THE “PERCENTAGE OF THE FUND” METHOD IS THE APPROPRIATE METHOD
        FOR DETERMINING COMMON BENEFIT FEES

        Rule 23 requires that district courts presiding over a class action “must scrutinize the attorneys’

fees of class counsel to assure that they are reasonable.” In re Chinese-Manufactured Drywall Prod. Liab.

Litig., 424 F. Supp. 3d 456, 497 (E.D. La. 2020). “Most courts use the percentage of the fund method

in awarding fees in common fund class actions.” Di Giacomo v. Plains All Am. Pipeline, No. CIV.A.H-

99-4137, 2001 WL 34633373, at *5 (S.D. Tex. Dec. 19, 2001) (citing Camden I Condominium Assoc., Inc.

v. Dunkle, 946 F.2d 768, 774 (11th Cir.1991)(“Henceforth in this circuit, attorneys' fees awarded from

a common fund shall be based upon a reasonable percentage of the fund established for the benefit

of the class.”); Swedish Hospital Corp. v. Shalala, 1 F.3d 1261 (D.C. Cir. 1993) (holding that in common

fund class actions, percentage of the fund method is the only permissible method of award of attorney

fees)). The Supreme Court has long recognized that the percentage fee method is a proper method of

calculating attorney fees in a common fund case. See id. (citing Blum v. Stenson, 465 U.S. 886, 900 n. 16

(1984); Boeing Co. v. Van Gemert, 444 U.S. at 478 (“[A] lawyer who recovers a common fund for the

benefit of persons other than himself or his client is entitled to a reasonable attorney's fee from the

fund as a whole.”)).




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        Prominent judges and practitioners explained why attorney fee awards in common fund cases

should be based on the percentage fee method in a 1985 Third Circuit Task Force Report. Di Giacomo

v. Plains All Am. Pipeline, No. CIV.A.H-99-4137, 2001 WL 34633373, at *6 (S.D. Tex. Dec. 19, 2001).

The Report identified a number of deficiencies with the lodestar method, including:

        (1) increasing the workload of the judicial system; (2) lack of objectivity; (3) a sense of
        mathematical precision unwarranted in terms of the realities of the practice of law; (4)
        ease of manipulation by judges who prefer to calculate the fees in terms of percentages
        of the settlement fund; (5) encouraging duplicative and unjustified work; (6)
        discouraging early settlement; (7) not providing judges with enough flexibility to award
        or deter lawyers so that desirable objectives, such as early settlement, will be fostered;
        (8) providing relatively less monetary reward to the public interest bar; and (9)
        confusion and unpredictability in administration.

Id. (citing Task Force Report, 108 F.R.D. 237, 246–49 (1986)). In 2001, a subsequent Third Circuit

Task Force issued a draft report again concluding that attorney fee awards in common fund cases

should be based on the percentage of fund, rather than lodestar, approach. Id. Despite the apparent

advantages of the percentage fee method over the lodestar method in common fund cases, the law in

the Fifth Circuit is not clear in which method is approved. In re Combustion, Inc., 968 F. Supp. 1116,

1135 (W.D. La. 1997).

        That said, district courts in the Fifth Circuit have applied a hybrid approach, “using some

combination of a percentage and a ‘lodestar check.’” In re Enron Corp. Sec., Derivative & ERISA Litig.,

586 F. Supp. 2d 732, 751 (S.D. Tex. 2008) (quoting In re Educ. Testing Serv. Praxis Principles of Learning

and Teaching: Grades 7–12 Litig., 447 F.Supp.2d 612, 629 (E.D. La. 2006) (“Under Fifth Circuit law, the

Court has the flexibility to calculate fees based on the percentage method as long as it combines its

determination with some analysis under the lodestar method.”).

        “A cross-check is performed by dividing the proposed fee award by the lodestar calculation,

resulting in the lodestar multiplier.” Id. (quoting In re AT & T Corp., 455 F.3d 160, 164 (3d Cir. 2006)).

“The multiplier represents the risk of the litigation, the complexity of the issues, the contingent nature

of the engagement, the skill of the attorneys, and other factors.” Id. (quoting In re Global Crossing Sec.

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& ERISA Litig., 225 F.R.D. 436, 468 (S.D.N.Y. 2004)). The “multiplier need not fall within any

predefined range as long as the district court justifies the award.” Id.

          The lodestar cross-check serves the purpose of alerting the trial judge that when the
          multiplier is too great, the court should reconsider its calculation under the percentage-
          of-recovery method, with an eye toward reducing the award. Even when the lodestar
          method is used only as a cross-check, courts must take care to explain how the
          application of a multiplier is justified by the facts of a particular case.

Id. (quoting In re Prudential Ins. Co. America Sales Practice Litig. Agent Actions, 148 F.3d 283, 333 (3d Cir.

1998)).

B.        THE REQUESTED ATTORNEYS’ FEES ARE REASONABLE

          1.      Valuation of Benefit to the Class and Determination of Benchmark Percentage

          Collective/Class Counsel have negotiated settlement terms immensely favorable to the

Collective/Class Members. Collective/Class Counsel secured a Maximum Settlement Amount of

$750,000.00, of which the remaining Net Settlement Amount will be divided among the Participating

Settlement Class and Collective Members. Of that, Class/Collective Counsel seek 40% (or

$300,000.00) of the Maximum Settlement Amount for their attorneys’ fees and their reasonably

incurred litigation expenses.

          “No general rule can be articulated on what is a reasonable percentage of a common fund.”

Jenkins, 300 F.R.D. at 307 (quoting Bethea v. Sprint Commc'ns Co. L.P., No. 3:12-CV-322-CWR-FKB,

2013 WL 228094, at *3 (S.D. Miss. Jan. 18, 2013)). Nonetheless, it is typical for fee awards to fall

between a lower end of 20% and an upper end of 50%. See id. Fifty percent “is the upper limit on a

reasonable fee award to assure that fees do not consume a disproportionate part of the recovery

obtained for the class, though somewhat larger percentages are not unprecedented.” Torregano v. Sader

Power, LLC, No. CV 14-293, 2019 WL 969822, at *3 (E.D. La. Feb. 28, 2019) (quoting Combustion, Inc.,

968 F. Supp. at 1133 (citing Camden I Condominium Assn. v. Dunkle, 946 F.2d 768 (11th Cir. 1991)); see

also Wolfe v. Anchor Drilling Fluids USA Inc., Cause No. 4:14-cv-1344, 2015 WL 12778393 (S.D. Tex.


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Dec. 7, 2015) (approving an award of 40% of the common fund). “Further, cases in which courts have

found considerably lower percentage awards appropriate tend to be ‘mega cases,’ with common funds

exceeding $100 million.” See Lonardo v. Travelers Indem. Co., 706 F. Supp. 2d 766, 791 (N.D. Ohio 2010),

on reconsideration in part (July 21, 2010). Here, the requested percentage of 40% is within percentages

awarded in class actions in the Fifth Circuit. The requested percentage is therefore reasonable and

appropriate for this case. The Collective/Class Members are receiving a significant value for their

claims.

          2.      The Johnson Factors Reinforce the Benchmark Percentage

          After determining the appropriate benchmark percentage, district courts apply the factors

enumerated in Johnson v. Georgia Highway Express, Inc., to determine whether an adjustment to the

benchmark is warranted. See In re Chinese-Manufactured Drywall Prod. Liab. Litig., 424 F. Supp. 3d at 500.

The Johnson factors include

           (1) the time and labor required; (2) the novelty and difficulty of the questions; (3) the
          skill requisite to perform the legal service properly; (4) the preclusion of other
          employment by the attorney due to acceptance of the case; (5) the customary fee; (6)
          whether the fee is fixed or contingent; (7) time limitations imposed by the client or the
          circumstances; (8) the amount involved and the results obtained; (9) the experience,
          reputation, and ability of the attorneys; (10) the “undesirability” of the case; (11) the
          nature and length of the professional relationship with the client; and (12) awards in
          similar cases.

Id. at 497.

                  a.      Time and Labor Required

          Collective/Class Counsel logged approximately 266 hours of work litigating this hybrid

class/collective action from its inception through the present. See Declaration of Clif Alexander,

attached as Exhibit 1.. Litigating complex wage and hour cases like this one involve fact intensive

issues that require a large time investment, in addition to skill and experience. See Grove v. ZW Tech,

Inc., No. 11-2445-KHV, 2012 WL 4867226, at *5 (D. Kan. Oct. 15, 2012) (recognizing that collective

actions require an extensive time commitment, skill, and expertise by experienced plaintiffs’ counsel).

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As previously discussed, Collective/Class Counsel skillfully maneuvered this litigation from the outset

to place it in a position for global resolution. That included frank conversations with Defendant’s

Counsel about the issues faced by both Parties and intensive client communication that allowed

Collective/Class Counsel to prepare a robust motion for conditional certification shortly after the

lawsuit was filed and utilize the drafted motion to facilitate global resolution.

                b.        Novelty and Difficulty of Question Presented by the Case

        This hybrid collective/class action is premised on Defendant’s alleged violations of the FLSA

and separate state law claims. While the FLSA claims (and now Ohio claims) are pursued collectively

and Class Representative brought the state law claims as a Rule 23 class action. While wage and hour

litigation is inherently complex, it is made more so in the hybrid context involved here as it involves

navigating the complex interplay between federal and state law, both procedurally and on the merits

of the claims at issue.

        Not only were there complex questions of law raised by this litigation, there were numerous

contested issues that would have been tried to the fact finder:

        •   Whether Plaintiff can show that she, and the Putative Collective/Class
            Members can proceed to trial on a collective/class basis;

        •   Whether each Plaintiff can show that Defendant had a national policy or
            practice that violated the FLSA;1

        •   Whether each Plaintiff can show that Defendant’s national policy or practice
            was applied to him/her and deprived him/her of wages owed under the FLSA;

        •   Whether each Plaintiff was paid for all overtime hours worked during the
            relevant time period;

        •   Whether each Plaintiff is entitled to recover for two or three years of wages,
            which requires a determination as to whether the violation was willful, or, more
            specifically:




        1 See Aguirre v. SBC Commc’ns., Inc., No. 05-3198, 2006 WL 964554, at *6 (S.D. Tex. Apr. 11, 2006).




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            o Whether Defendant knew or showed reckless disregard as whether its
              conduct was prohibited by the FLSA; and

            o Whether Defendant negligently violated the FLSA;

        •   Whether each Plaintiff is entitled to recover liquidated damages and penalties,
            which requires proof that objectively reasonable grounds existed for
            Defendant to believe itself in compliance with the FLSA.

This case involved complex questions of law and multiple fact questions upon which significant

discovery would have been required. This factor favors approval of the requested percentage.

            c. Skill Required and Ability of Collective/Class Counsel

        Collective/Class Counsel is well-versed in complex individual, collective and class actions in

the employment law context. See generally Exhibit A. Collective/Class Counsel thereby had the requisite

reputation, skill, and specialized experience to perform the legal services required in this complex

litigation. Collective/Class Counsel has litigated over 500 wage and hour cases proceeding in judicial

and arbitral forums across the United States. See id. This focus on wage and hour litigation allows

Collective/Class Counsel to provide superior legal representation to their clients, including Plaintiffs

and the Settlement Class Members herein.

        Clif Alexander took a lead role in this litigation. Mr. Alexander focuses his practice on

representing wage and hour clients throughout the United States—he has been lead counsel in more

than 500 individual, collective, and class action wage and hour cases across the United States and has

extensive experience litigating mass actions against corporate defendants. Indeed, Mr. Alexander has

dedicated his career to handling complex class, collective, and mass action litigation on behalf of

Plaintiffs in many types of cases, and has worked almost exclusively in the labor and employment

context for over ten years. See id. Mr. Alexander is a zealous advocate for his clients and a dedicated

lawyer. Plaintiffs in this matter were served by an experienced litigation team composed of skilled and

experienced wage and hour attorneys. They, and the services they provided to the class are addressed

in greater detail in Mr. Alexander’s declaration. See Exhibit A.


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          Moreover, Collective/Class Counsel’s skill and experience in litigating wage and hour class

and collective actions has been previously recognized. See Bass v. Berry Bros. General Contractors, Inc., Civ.

A. No. 17-0947, ECF No. 40, p.8 (W.D. La. Apr. 1, 2020) (“Class counsel’s skill, knowledge,

reputation, and experience is well-recognized in FLSA cases such as this.”) (attached as Exhibit 2).

Litigating this type of complex representative action is the focus of Collective/Class Counsel’s

practice, and they have both the skill and experience to successfully try these matters to resolution.

                  d.      Preclusion of Other Employment by the Attorneys due to Acceptance of
                          the Case

          Collective/Class Counsel undertook significant risk in agreeing to represent Plaintiffs in this

case. Wage and hour cases are complicated and time-consuming matters. Any attorney undertaking

these types of cases must be prepared to make tremendous investments of time, energy, and financial

resources in order to appropriately pursue them. Collective/Class Counsel is comprised of attorneys

from a boutique firm who are limited by time and cannot pursue every wage and hour claim. Instead,

they must necessarily choose which clients they will be able to represent, considering the time and

expense inherent in every case. This factor weighs in favor of approval. See Claudet, 2020 WL 3128611,

at *12.

                  e.      The Undesirability of the Case

          Likewise, “[t]he point at which plaintiffs settle with defendants . . . is simply not relevant to

determining the risks incurred by their counsel in agreeing to represent them.” Jenkins, 300 F.R.D at

309 (quoting Skelton v. Gen'l Motors Corp., 860 F.2d 250, 258 (7th Cir.1988), cert. denied, 493 U.S. 810

(1989). “Undesirability” and relevant risks must be evaluated from the standpoint of plaintiffs’ counsel

as of the time they commenced the suit—not retroactively, with the benefit of hindsight. Id. (citing

Lindy Bros. Builders, Inc. v. Am. Radiator & Standard Sanitary Corp., 540 F.2d 102, 112 (3d Cir.1976)).

Collective/Class Counsel confronted all procedural and substantive issues presented without any




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assurances as to how the Court would rule when they accepted the case and the risks that accompanied

it.

                f.       Customary Fee Awards in Similar Cases

        Plaintiffs’ requested fee award is on par with other fee awards in similar related cases, as

addressed above in setting the benchmark percentage. See supra § IV.B.1

                g.       Plaintiffs’ Contingency Fee Agreement

        Collective/Class Counsel prosecuted this entirely on a contingent fee basis. See Exhibit 1. In

undertaking to prosecute this complex class/collective action on that basis, Collective/Class Counsel

assumed a significant risk of nonpayment or underpayment. See id.

        “Recognizing the contingent risk of nonpayment in [class action] cases, courts have found that

class counsel ought to be compensated . . . for risk of loss or nonpayment assumed by carrying through

with the case.” Turner v. Murphy Oil USA, Inc., 472 F. Supp. 2d 830, 859–60 (E.D. La. 2007) (citing In

re Combustion, Inc., 968 F. Supp. at 1132); see also King v. United SA Fed. Credit Union, 744 F. Supp. 2d

607, 618 (W.D. Tex. 2010) (finding the fact that “[c]lass counsel undertook [the] case on a contingency

fee basis” relevant to the Johnson analysis). “Public policy concerns—in particular, ensuring the

continued availability of experienced and capable counsel to represent classes of injured plaintiffs

holding small individual claims—support the requested fee.” Jenkins, 300 F.R.D. at 310.

        Generally, the contingency retainment must be promoted to assure representation
        when a person could not otherwise afford the services of a lawyer . . . . A contingency
        fee arrangement often justifies an increase in the award of attorney’s fees. This rule
        helps assure that the contingency fee arrangement endures. If this “bonus”
        methodology did not exist, very few lawyers could take on the representation of a class
        client given the investment of substantial time, effort, and money, especially in light of
        the risks of recovering nothing.

Id. (citing Behrens v. Wometco Enters., Inc., 118 F.R.D. 534, 546 (S.D. Fla. 1988), aff'd, 899 F.2d

21 (11th Cir.1990)).




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        The risks taken by Collective/Class Counsel in taking this case have already been discussed. It

is uncontroverted that the attorney time spent on this case was time that could not be spent on other

matters. See Exhibit 1. Consequently, this factor supports the requested fee.

                h.       Amount Involved and Results Obtained

        The negotiated settlement amount provides for a significant recovery to the Class/Collective

Members and provides for a cash award now, instead of an uncertain claim recoverable only at an

uncertain future date. Although not a full recovery based on Collective/Class Counsel’s damage

model, it does provide for a significant portion of the alleged damages—and provides for a recovery

far above Defendant’s claims that zero damages are owed. The prompt results obtained by the

settlement, considered together with the amount involved in the litigation, supports the requested fee

amount.

                i.       Any Time Limitations Imposed by the Client or the Circumstances

        The FLSA provides a maximum three-year statute of limitations on claims. See 29 U.S.C.

§ 255(a). The statute of limitations for the FLSA claims of potential opt-in plaintiffs is not tolled by

the filing of a lawsuit, but rather by each opt-in plaintiff filing his/her written consent with the court.

See id. This wasting statute of limitations required Collective/Class Counsel to act promptly and

decisively preparing to move to conditionally certify the collective action. The Johnson factors support

the requested fee award in this matter and no further deviation from the benchmark percentage is

warranted.

        3.      Lodestar Cross-Check

        “The final step of the blended method is to cross-check the percentage with an abbreviated

lodestar analysis.” In re Chinese-Manufactured Drywall Prod. Liab. Litig., 424 F. Supp. 3d at 503 (citing In

re Oil Spill by the Oil Rig Deepwater Horizon, MDL 2179, 2016 WL 6215974, at *19 (E.D. La. Oct. 25,

2016) (citing In re Vioxx, 760 F. Supp. 2d at 659) (“[T]he loadstar cross-check is a streamlined process,



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avoiding the detailed analysis that goes into a traditional lodestar examination.”); Claudet, 2020 WL

3128611, at *13 (same). “The lodestar is calculated by multiplying the number of hours reasonably

expended by a reasonable hourly rate for the work performed.” In re Chinese-Manufactured Drywall Prod.

Liab. Litig., 424 F. Supp. 3d at 503; Claudet, 2020 WL 3128611, at *13. Courts look to the “prevailing

community standards for attorneys of similar experience in similar cases” in weighing in on the

reasonableness of the requested rates. See In re Chinese-Manufactured Drywall Prod. Liab. Litig., 424 F.

Supp. 3d at 503; Claudet, 2020 WL 3128611, at *13.

        In this legal community, the market rates for complex litigation—like collective actions filed

pursuant to 29 U.S.C. § 216(b), are in line with Collective/Class Counsel’s rates. See Exhibit 1. See also

MidCap Media Fin., LLC v. Pathway Data, Inc., No. 1-15-CV-00060 AWA, 2018 WL 7890668, at *5–6

(W.D. Tex. Dec. 19, 2018) (awarding rates from $755 to $325 in a breach of contract case).

Accordingly, Plaintiffs’ counsel’s respective hourly rates are reasonable considering the skill and

expertise of the attorneys involved, and are additionally supported by awards from multiple courts

throughout the United States. See id.

        Collective/Class Counsel has now expended approximately 266 hours in the litigation of this

matter. The time expended by Collective/Class Counsel was in the furtherance of tasks that were both

reasonable and necessary for the prosecution (and successful resolution) of Plaintiffs’ claims.

Collective/Class Counsel has not included time spent researching and drafting motions that were not

successful before the Court. Neither has Collective/Class Counsel included time on matters not

pertinent to the merits of this lawsuit. See id. Collective/Class Counsel also exercised billing judgment

and excluded duplicative billing entries. See id. Collective/Class Counsel further contends that these

hours are justified by the complexity of the case and nature of the work performed, which included

extensive (although informal) discovery, correspondence, and settlement negotiations. Applying these

rates to the hours billed, the lodestar in this matter, exclusive of fees incurred, is $134,310.00. See Ex.



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1. Because Collective/Class Counsel’s lodestar applies a multiplier of 2.2, it well within the range of

multipliers regularly approved in complex litigation. See Grigson v. Farmers Grp., Inc., No. 1:17-CV-

00088-LY, 2020 WL 13598801, at *4 (W.D. Tex. May 22, 2020) (“The fee requested represents a

multiplier on that figure of approximately 2.20, which is within the range awarded in this Circuit in

complex class cases and reasonable in light of the circumstances of the case.); Sistrunk v. TitleMax, Inc.,

No. 5:14-CV-628-RP, 2018 WL 1773307, at *4 (W.D. Tex. Feb. 22, 2018) (approving a percentage of

the common fund that was double the lodestar in a class action context); Klein v. O'Neal, Inc., 705 F.

Supp. 2d 632, 680–81 (N.D. Tex. 2010), as modified (June 14, 2010), judgment entered (June 18,

2010), enforcement denied, No. 7:03-CV-102-D, 2011 WL 2413318 (N.D. Tex. June 15, 2011)

(awarding a multiplier of 2.5 in a class action case); Vaughn v. Am. Honda Motor Co., 627 F. Supp. 2d

738, 751 (E.D. Tex. 2007) (applying a multiplier of 2.26); Turner v. Murphy Oil USA, Inc., 472 F. Supp.

2d 830, 869 (E.D. La. 2007) (“[T]he Court finds that a lodestar multiplier range of 2.5 to 3.5 would be

appropriate and reasonable in this case.”); In re Combustion, Inc., 968 F. Supp. 1116, 1133 (W.D. La.

1997) (“Multipliers ranging from one to four frequently are awarded in common fund cases when the

lodestar method is applied.”)

        This Court has previously noted that “[t]he lodestar analysis is not undertaken to calculate a

specific fee, but only to provide a broad cross check on the reasonableness of the fee arrived at by the

percentage method.” In re Chinese-Manufactured Drywall Prod. Liab. Litig., 424 F. Supp. 3d at 498 (quoting

In re Vioxx Prods. Liab. Litig., 760 F. Supp. 2d at 652). Because the lodestar has confirmed that the fee

arrived at utilizing the percentage method is reasonable, Plaintiff asks this Court to approve the

requested fee amount of $300,000.00, inclusive of fees and costs.

C.      COSTS/LITIGATION EXPENSES

        “Typically, class action counsel who create a common fund for the benefit of the class . . . are

entitled to reimbursement of reasonable litigation expenses from that fund.” Id. at 504 (citing In re Pool



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Prod. Distribution Mkt. Antitrust Litig., MDL 2328, 2015 WL 4528880, at *18 (E.D. La. July 27, 2015)).

“The reimbursement of costs and expenses seeks not to reward attorneys for their work but restore

the status quo.” Id. However, the court must review the estimated expenses for which reimbursement

is sought and determine whether the total requested sum is fair to the settlement class to ensure the

requested expenses do not “cannibalize the entire . . . settlement.” Id.

        In addition to the reasonable and necessary attorneys’ fees, addressed above, Collective/Class

Counsel has incurred additional expense in the litigation of this matter. See Exhibit 1. To date, the

expenses in this case total $4,987.30. Id. The $4,987.30 amount includes filing and service fees, pro hac

vice admission fees, mediation fees and expenses, and PACER fees. These costs are detailed in the

Declaration of Clif Alexander. See id. Importantly, Collective/Class Counsel does not seek to recover

an additional amount for their costs and expenses beyond the 40% sought as attorneys’ fees.

                                                IV.
                                            CONCLUSION

        Plaintiff has submitted evidence in support of the attorneys’ fees and costs requested herein,

and have established that 40% of the common benefit fund is appropriate based on the percentage of

the fund method.




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Dated: December 21, 2022                         Respectfully submitted,

                                                 ANDERSON ALEXANDER, PLLC

                                         By:     /s/ Clif Alexander
                                                 Clif Alexander
                                                 Texas Bar No. 24064805
                                                 clif@a2xlaw.com
                                                 Lauren E. Braddy
                                                 Texas Bar No. 24071993
                                                 lauren@a2xlaw.com
                                                 Alan Clifton Gordon
                                                 Texas Bar No. 00793838
                                                 cgordon@a2xlaw.com
                                                 Carter T. Hastings
                                                 Texas Bar No. 24101879
                                                 carter@a2xlaw.com
                                                 819 N. Upper Broadway
                                                 Corpus Christi, Texas 78401
                                                 Telephone: (361) 452-1279
                                                 Facsimile: (361) 452-1284

                                                 Attorneys for Plaintiff and the Putative Class
                                                 Members




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                                CERTIFICATE OF CONFERENCE

        I hereby certify that I have conferred with Defendant’s counsel of record and they are not

opposed to the filing of this Motion or the relief requested herein.

                                                        /s/ Clif Alexander
                                                        Clif Alexander



                                    CERTIFICATE OF SERVICE

        I hereby certify that on December 21, 2022, I electronically filed the foregoing document with

the clerk of the court for the U.S. District Court, Western District of Texas, using the electronic case

filing system of the court. The electronic case filing system sent a “Notice of Electronic Filing” to the

attorneys of record who have consented in writing to accept this Notice as service of this document

by electronic means.


                                                        /s/ Clif Alexander
                                                        Clif Alexander




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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

VIRGINIA NAVARRO,            §                          Civil Action No. 5:20-cv-00766-OLG
Individually and on behalf of all others
                             §
similarly situated           §
                             §
    Plaintiff,               §
                             §
v.                           §                          COLLECTIVE ACTION
                             §                          PURSUANT TO 29 U.S.C. §216(b)
                             §
MARRIOTT INTERNATIONAL, INC. §                          CLASS ACTION
                             §                          PURSUANT TO FED. R. CIV. P. 23(b)(3)
    Defendant.               §

                           DECLARATION OF CLIF ALEXANDER

        I, Clif Alexander, being of sound mind and over the age of 18, make the following statements.

       1.       The facts contained in this declaration are within my personal knowledge and are true
and correct.

       2.      I am a co-founding partner of Anderson Alexander, PLLC, and have served as lead
Class Counsel for the Representative Plaintiff and the Class Members in this case.

      3.      I submit this declaration in support of the 3ODLQWLII·V 8QRSSRVHG 0RWLRQ IRU )LQDO
Approval of Confidential Settlement Agreement and Release WKH´$SSURYDO0RWLRQµ DQG3ODLQWLII·V
8QRSSRVHG0RWLRQIRU$WWRUQH\V·)HHVDQG&RVWV ´)HH0RWLRQµ . I have reviewed the Approval
Motion and the Fee Motion and the facts contained therein are true and correct, to the best of my
knowledge.

         4.      Anderson Alexander, PLLC is a plaintiff and employee-side law firm that was founded
in 2016 by me and my partner, Austin W. Anderson. Our firm practices almost exclusively in the area
of labor and employment³specifically, in wage and hour law throughout the United States. We devote
95% of our practice to representing workers in class and collective actions under the Fair Labor
Standards Act, 29 U.S.C. §§ 201²19, and various state wage laws. I, and the attorneys who performed
services in this matter, have extensive experience litigating complex collective actions, like the matter
pending before this Court. Since 2016, we have represented hundreds of thousands of employees in
collective and class actions seeking unpaid wages for work performed throughout the United States.

       5.      I have spent my career litigating collective, class and mass action lawsuits and have
been lead counsel in hundreds of individual, collective, and class action wage and hour cases across
the United States. I have been licensed for fourteen (14) years and focus my practice on representing
wage and hour clients throughout the United States.
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        6.      I received my J.D. from South Texas College of Law-Houston in 2008. I am licensed
to practice law in the State of Texas and am admitted to practice before the U.S. Courts of Appeals
for the Federal Circuit, and the Fourth, Fifth, and Eleventh Circuits. I am also admitted to practice in
the following district courts: the Southern, Western, Eastern, and Northern Districts of Texas, the
Court of Federal Claims, the District of Colorado, the Central District of Illinois, District of New
Mexico, and the Eastern District of Michigan. I have litigated cases, either as an admitted attorney, or
pro hac vice, in the federal district courts of Arizona, Utah, Washington, California, New Mexico,
Colorado, Oklahoma, Iowa, Kansas, Kentucky, Missouri, Pennsylvania, Ohio, Illinois, Texas,
Louisiana, Mississippi, Arkansas, Georgia, Alabama, Florida, Tennessee, South Carolina, Virginia,
Wisconsin, Michigan, Vermont, and North Carolina.

        7.     I am involved in many professional organizations and keep abreast of the ever-
changing body of laws related to employment on a federal and state level. I am a member of the
$PHULFDQ$VVRFLDWLRQIRU-XVWLFH ´$$-µ  National Employment Lawyers $VVRFLDWLRQ ´1(/$µ 
WKH 7H[DV (PSOR\PHQW /DZ\HUV $VVRFLDWLRQ ´7(/$µ , and the Texas Trial Lawyers Association
 ´77/$µ , and regularly attend and speak at their conferences. I am also very active in my local bar
association and long served as a director and president for the Corpus Christi Young Lawyers
Association and as a director for the Corpus Christi Bar Association. I also participate in multiple
employment-specific listservs.

         8.      My hourly rate in this case is $650.00, and that amount is commensurate with the
amount reasonably charged by other legal practitioners of my skill and experience specializing in
FROOHFWLYH DQGFODVVDFWLRQVDULVLQJXQGHUWKH )DLU/DERU6WDQGDUGV$FW ´)/6$µ DQG related state
wage and hour laws in this District.

        9.      Austin W. Anderson, a co-founding member of Anderson Alexander, PLLC has also
taken a lead role in the litigation of this matter. Mr. Anderson has also spent his career litigating class
and mass action lawsuits and has been lead counsel in hundreds of individual, collective, and class
action wage and hour cases across the United States. Mr. Anderson has been licensed for almost
twenty (20) years and focuses his practice on representing wage and hour clients throughout the
United States.

         10.     Mr. Anderson received his J.D. from St. 0DU\·V 6FKRRO RI /DZ LQ  DQG
subsequently received his L.L.M. in trial advocacy from California Western in 2004. Mr. Anderson is
licensed to practice law in the State of Texas and is admitted to practice before the U.S. Court of
Appeals for the Fifth Circuit, the Southern, Eastern, Western, and Northern Districts of Texas, the
Central District of Illinois, the District of New Mexico, and the Eastern District of Michigan. He has
litigated cases, either as an admitted attorney, or pro hac vice, in the federal district courts of Arizona,
Arkansas, California, Washington, New Mexico, Oklahoma, Iowa, Pennsylvania, Ohio, Kentucky,
Illinois, Texas, Louisiana, Georgia, Alabama, Florida, South Carolina, Tennessee, North Carolina,
Missouri, Utah, and Virginia.

        11.      Mr. Anderson is involved in many professional organizations and keeps abreast of the
ever-changing body of laws related to employment on a federal and state level. He is a member of the
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 ´7(/$µ DQGWKH7H[DV7ULDO/DZ\HUV$VVRFLDWLRQ ´77/$µ DQGUHJXODUO\DWWHQGs their conferences.
Mr. Anderson is also active in the local bar associations and participates in multiple employment-
specific listservs.


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        12.     0U$QGHUVRQ·VKRXUO\UDWHLQWKLVFDVHLV650.00, and that amount is commensurate
with the amount reasonably charged by other legal practitioners of his skill and experience specializing
in collective and class actions arising under the FLSA and related state wage and hour laws in the
Western District of Texas.

         13.     Lauren Braddy, a senior attorney with Anderson Alexander, PLLC, has also performed
work on behalf of the Class Members in this matter. Ms. Braddy has been licensed for more than
twelve (12) years and graduated with honors from Baylor University School of Law in 2010. Early in
her career, Ms. Braddy served as defense counsel representing large and small corporations with a
nation-wide docket in federal and state courts and subsequently worked as a staff attorney for the
Thirteenth Court of Appeals in Corpus Christi, Texas. Ms. Braddy joined Anderson Alexander, PLLC
in 2015 and since that time, has focused on in representing plaintiffs across the United States in
complex representative actions, including class and collective alleging violations of federal and state
laws. Ms. Braddy is admitted to practice before the Court of Appeals for the Fourth, Fifth, and
Eleventh Circuits, the Southern, Western, Eastern, and Northern Districts of Texas, the Court of
Federal Claims, the District of Colorado, the Central District of Illinois, the District of New Mexico,
and the Eastern District of Michigan. Ms. Braddy has litigated cases, either as an admitted attorney,
or pro hac vice, in the federal district courts of Arizona, California, New Mexico, Colorado,
Oklahoma, Iowa, Pennsylvania, Ohio, Texas, Louisiana, Virginia, Utah, Georgia and Alabama. Ms.
Braddy is involved in many professional organizations and is a member of the Trial Lawyers
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national conferences and locally within her community. Ms. Braddy is very active in her local bar
associations and had long served as a director for the Corpus Christi Young Lawyers Association and
is the current President for the Coastal Bend Women Lawyers Association. Ms. BradG\·VW\SLFDOKRXUO\
rate is $500.00 an hour, and that rate is reasonable for an attorney of her skill and experience in this
specialized body of law in the Western District of Texas.

         14.      Carter Hastings, an attorney with Anderson Alexander, PLLC, has also performed
significant work on behalf of the Class Members in this matter. Mr. Hastings has represented
thousands of workers in class, collective action, and individual lawsuits across the United States.
Mr. Hastings graduated from Southern Methodist Universit\·V'HGPDQ6FKRRORI/DZLQDQG
since returning to Corpus Christi, Texas, has become an active member in the local bar association,
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member of the NationaO (PSOR\PHQW /DZ\HUV $VVRFLDWLRQ ´1(/$µ  WKH 7H[DV (PSOR\PHQW
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attends their conferences. Mr. Hastings is licensed in Texas and is admitted to practice in all four
federal districts in Texas and the Central District of Illinois. He has litigated cases, either as an admitted
attorney, or pro hac vice, in the federal district courts of Illinois, Kansas, Kentucky, Louisiana,
Missouri, Ohio, Oklahoma, Tennessee, and TexDV0U+DVWLQJ·VKRXUO\UDWHLQWKLVFDVHLV
and that amount is commensurate with the amount reasonably charged by other legal practitioners of
his skill and experience specializing in collective and class actions arising under the FLSA and related
state wage and hour laws in this District.

       15.      Casey Kellum, an attorney with Anderson Alexander, PLLC, also worked on this case.
Ms. Kellum began working with Anderson Alexander, PLLC as an associate attorney in 2022. Ms.
.HOOXP·V SUDFWLFH ZLWK $QGHUVRQ Alexander, PLLC focuses exclusively on complex representative


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actions where she diligently represents individuals in class and collective actions, in addition to
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2020. She is a member of the Texas (PSOR\PHQW/DZ\HUV$VVRFLDWLRQ ´T(/$µ 8SRQDUULYLQJLQ
Corpus Christi, Ms. Kellum has become an active member in local bar associations, including the
Corpus Christi Bar Association, Corpus Christi Young Lawyers Association, and the Coastal Bend
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skill and experience in this specialized body of law in this District.

         16.     The above attorneys with the law firms of Anderson Alexander, PLLC have
represented hundreds of thousands of employees in collective and class action wage and hour
litigation. As such, I can verify that I am familiar not only with this complex area of the law, but that
I am also familiar with these specific claims in the industry, and specifically in this case.

       17.     Anderson Alexander, PLLC has 266.2 billable hours invested in this case, for a lodestar
of $134,310.00, as set forth in more detail in the chart below:




       18.    The above rates for have been approved by other district courts in complex hybrid
wage and hour actions such as this one.1

       19.    Collective/Class Counsel has invested significant time in this case.2 At the outset, we
performed our initial intake for the former named-plaintiff Rain Garcia (f/k/a Micheal Garcia), after
which we engaged in substantial research both on her claims and on the business structure of her
employer, Marriott International, Inc. Upon deciding to take the case, we promptly drafted and filed




        1 See 0ROOHWW Y .RKO·V &RUSRUDWLRQ, No. 21-cv-707, ECF No. 27-3 (Declaration of Clif Alexander,

addressing rates) and ECF No. 29 (civil judgment) (E.D. Wis.), attached together as Exhibit A; Abner v. Convergys
Corp., No. 1:18-cv-00442-DRC, ECF No. 278-3, ¶19 (Declaration of Clif Alexander, addressing rates) and ECF
No. 279 (order approving settlement) (S.D. Ohio), attached together as Exhibit B.

       2 Collective Counsel will provide the detailed billing records for this matter for in camera review should

the Court desire to review them.



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3ODLQWLII·V 2ULJLQDO &RPSODLQW3 Because Defendant did not employ Garcia and Garcia was not
therefore a proper class or collective representative, on April 4, 2022, Collective/Class Counsel
requested and obtained Court-approval to file the First Amended Class/Collective Action Complaint
 ´$PHQGHG&RPSODLQWµ 7KURXJKWKH$PHQGHG&RPSODLQWRepresentative Plaintiff replaced Garcia
as the named-plaintiff and Class Representative Upon filing this action in July of 2020,
Collective/Class Counsel has engaged in extensive efforts in reaching a mutual resolution.

        20.     As part of those discussions, Defendant agreed to produce data relevant to the
Putative Class Members, informally, to allow Class Counsel the opportunity to fully evaluate their
claims and the available damages. The Parties attended a virtual formal mediation with respected wage
and hour mediator, Carole Katz, on June 23, 2021. The Parties reached a settlement in principle,
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memorializing their agreement until the formal settlement agreement could be drafted and executed.

      21.    After extensive collaboration, and on March 15, 2022, the Parties fully executed the
Agreement. Collective/Class Counsel also drafted all settlement related filings.

         22.    In addition to the tasks addressed above, Collective/Class Counsel will continue to
devote attorney time and resources to the resolution of this matter. Specifically, we will take any further
actions deemed necessary by the Court regarding the approval of the Settlement at issue. In the event
this Court approves the Settlement, we will work expeditiously (along with the Defendant) to ensure
the settlement payments are timely made according to the timeline included in the Settlement.

        23.     I represent that the Settlement reached herein was fair and reasonable, and I believe it
constitutes an exceptional result considering the defenses at issue and the risk involved. The
Representative Plaintiff and the Class Members are set to receive meaningful value for the release of
their wage related claims. They will receive that monetary relief now, instead of some uncertain future
date. Accordingly, the Settlement provides the Collective/Class Members with substantial relief,
promptly and efficiently, and augments the benefits of that relief through the economies of collective
resolution. Moreover, Representative Plaintiff promptly reviewed and executed the Settlement. She
also reviewed the accompanying General Release and were pleased with the terms reached.

        24.     Further litigation through trial, and the potential for appeal, requires substantial risk³
and additional time. In the event the Settlement is not approved, Collective/Class Counsel would
proceed with drafting and filing their Motion for Class Certification to which Defendant will have to
prepare a response, and the Parties must participate in formal discovery. The Parties will litigate the
issue of whether collective treatment is appropriate before advancing to further discovery. This
discovery would encompass written discovery, depositions, and potentially third-party discovery.
Both Parties would likely file their dispositive motions after the close of discovery. The resolution of
these issues will require dozens of motions, which will prolong the time before any Class Member
might obtain relief (if they are entitled to any relief at all).




        3
            We also prepared a motion for conditional certification and notice to the putative class members
with all supporting declaratory evidence. However, because the Parties agreed to work to informally resolve
this litigation, Plaintiff was not forced to file the opposed motion.


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        25.    In choosing to accept representation and engage in the litigation of this matter,
Collective/Class Counsel was unable to accept other promising cases. As a small law firm with limited
resources, we are unable to accept every viable case.

         26.     The attorney-client contract between Anderson Alexander, PLLC and Representative
Plaintiff, provided for representation on a contingent fee basis. Anderson Alexander, PLLC agreed to
cover all case expenses and litigation costs (up to and including being responsible for Defendant·s
statutory court costs in the event it prevailed on the merits). The Agreement provides that the firm is
entitled to a 40% contingency fee of the gross settlement amount, in addition to reimbursement of
litigation costs and expenses actually incurred.


        27.     To date, Class Counsel has incurred litigation costs of $4,987.30. A detailed summary
of those costs is included below:




        28.     Although the attorney-client contract between Collective/Class Counsel and
Representative Plaintiff Navarro entitles Collective/Class Counsel to recover their out-of-pocket
expenses in addition to 40% of the Gross Settlement Amount, Collective/Class Counsel is not seeking
to recover their expenses separately.

        29.    Based on the foregoing, the undersigned declarant respectfully requests that this Court
approve the Settlement between the parties and authorize the manner and method of the distribution
of the settlement, as discussed therein.

           30.   I declare under the penalty of perjury that the foregoing information is true and
correct.




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Executed on: ____________              Signed by: __________________________
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                                                  Clif Alexander




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                                UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                  LAFAYETTE DIVISION

  JASON BASS, ET AL.                                                       CIVIL ACTION NO. 1-0947

  versus                                                                        JUDGE SUMMERHAYS

  BERRY BROS. GENERAL                                                 MAGISTRATE WHITEHURST
  CONTRACTORS, INC.



                              REPORT AND RECOMMENDATION

           The parties reached a settlement in this case which has been conditionally

  certified a collective action under the Fair Labor Standards Act (AFLSA@), 29

  U.S.C. '201, et seq. As a result, counsel filed a Joint Motion for Settlement

  Agreement Approval and Dismissal with Prejudice [Doc. 30], and separately filed

  a sealed copy of the Confidential Settlement and Release Agreement [Doc. 34] for

  review and approval of the settlement in camera.                                Plaintiffs also filed an

  Unopposed Motion for Award of Attorney¶s Fees and Costs [Doc. 37]1. Based on

  a review of the motions, the Confidential Settlement, the applicable law and

  jurisprudence and, for the following reasons, it is recommended that the Joint

  Motion for Approval of Confidential Settlement Agreement and Release [Doc. 30]

  and the 8QRSSRVHG0RWLRQIRU$ZDUGRI$WWRUQH\¶V)HHs and Costs [Doc. 37] be


  1
    Plaintiffs motion was filed in accordance with this Court¶s March 24, 2020 order requiring the parties to submit
  documentation supporting the amount of attorney¶s fees awarded in the proposed settlement, so that the Court could
  properly address the Joint Motion for Settlement Approval and Dismissal.
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  GRANTED.

                               LAW AND ANALYSIS

        Because this case has been conditionally certified as a collective action

  under the FLSA, this Court must approve the settlement before it may be finalized.

   See Brooklyn Sav. Bank v. Oneil, 324 U.S. 697 (1945). Before the Court may

  approve a settlement in a collective action brought under the FLSA, it must first

  determine whether the settlement involves the resolution of a bona fide dispute

  over an FLSA provision and then decide whether the settlement is fair and

  reasonable.   Lynn's Food Stores, Inc. v. United States, 679 F.2d 1350, 1352-55

  (11th Cir. 1982); Collins v. Sanderson Farms, Inc., 568 F.Supp.2d 714, 719 (E.D.

  La. 2008).

        The instant action presents a bona fide dispute over FLSA provisions,

  including whether the plaintiffs were properly classified as independent

  contractors, whether the plaintiffs were properly paid on an hourly basis or whether

  they were misclassified and entitled to overtime pay, whether the defendant's

  alleged violations were made in good faith and on reasonable grounds and whether

  the defendant's alleged FLSA violations were willful. The case has been litigated

  for almost two years.

        In determining whether a settlement is fair, adequate and reasonable, the

  Court should consider the following six factors: (1) the existence of fraud or

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  collusion behind the settlement; (2) the complexity, expense, and likely duration of

  the litigation; (3) the stage of the proceedings and the amount of discovery

  completed; (4) the probability of plaintiffs' success on the merits; (5) the range of

  possible recovery; and (6) the opinions of the class counsel, class representatives,

  and absent class members. Reed v. General Motors Corp., 703 F.2d 170, 172 (5th

  Cir. 1983), citing Parker v. Anderson, 667 F.2d 1204, 1209 (5th Cir. 1982). As

  part of the fairness determination, the Court must also assess the reasonableness of

  any proposed award of attorney's fees and expenses sought by plaintiff's counsel.

  Strong v. BellSouth, 137 F.3d 844, 849-850 (5th Cir. 1998).

           The parties have agreed to individual settlement amounts for the plaintiffs

  as set forth in Exhibit B to the Agreement.2 There is no evidence of any fraud or

  collusion behind the settlement. The Court may presume that no fraud or collusion

  occurred between counsel, in the absence of any evidence to the contrary. Camp v.

  Progressive Corp., 2004 WL 2149079 at *7 (E.D. La. 2004), citing Newberg on

  Class Actions '11.51 (4th ed.). Since this case was filed in 2017, counsel for the

  parties have vigorously represented and advanced the position of their clients,

  engaging in discovery, and competently addressing the issues presented in this

  litigation. It is clear that the settlement has been arrived at by arms-length and good

  faith negotiations. The first factor favors approval of the settlement as fair,

  2
      Doc. 34 (UNDER SEAL).

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  adequate, and reasonable.

        With regard to the inquiries set forth in the second factor, the complexity,

  expense, and likely duration of the litigation, this FLSA action presented multiple

  complex legal issues which have been zealously litigated by experienced counsel.

  Had a settlement not been consummated, the Court is of the opinion that this case

  would likely have remained in litigation for a significant amount of time, in excess

  of at least one or two more years, including any appeal of any adverse judgment,

  causing the parties to have incurred significant additional expense. Accordingly,

  the second factor weighs in favor of finding that the settlement is fair, adequate and

  reasonable.

        The third factor, the stage of the proceedings and the amount of discovery

  completed, likewise supports a finding that the settlement is fair, adequate and

  reasonable, and accordingly, should be approved. This case has been pending for

  almost three years. During its pendency, the parties have conducted significant

  discovery and factual and legal investigations. While it is clear that the Plaintiffs

  did not receive overtime pay±the number of hours worked in a given workweek

  was contested, as was Plaintiffs¶ status as independent contractors and their

  eligibility for overtime pay. Thus, discovery taken by the Plaintiffs highlights that

  there remain contested questions of fact on the issue of liability and damages.

        The fourth factor, probability of plaintiff's success on the merits, supports a

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  finding that the settlement is fair, adequate, and reasonable. This case has been

  litigated by competent lawyers on each side who enjoy great respect in their field

  from both sides of the aisle. Counsel for Plaintiffs has appeared multiple times in

  this Court and has a history of success in large-scale wage and hour litigation.

  Counsel for the Defendant is also well known to this Court and the legal

  community as a skilled litigator, particularly in employment-based matters. In light

  thereof, and given the nature of the disputed issues underlying this lawsuit, there is

  uncertainty surrounding the eventual outcome of the litigation, as well as the

  potential for appeal to the Fifth Circuit, such that the fourth factor weighs in favor

  of finding that the settlement of this action is fair, adequate, and reasonable.

        The fifth factor, the range of possible recovery, weighs in favor of a finding

  that the settlement is fair, adequate, and reasonable. There are not records in this

  case to clearly and accurately indicate the number of hours worked by the Plaintiffs

  and the Defendants contest that Plaintiffs work the hours claimed.                 Indeed,

  Defendants contend that Plaintiffs are not entitled to any damages. As a result of

  the settlement, each eligible class member will receive a sum representing a

  percentage of back pay due for overtime violations, plus an equal amount as

  liquidated damages and interest. The Court therefore finds that the total amount

  offered to each eligible plaintiff represents a settlement that curtails risk while

  resolving this dispute for an amount that is adequate, fair, and reasonable and

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  within range anticipated by the Court.

        The final factor, the opinions of the class counsel, class representatives, and

  absent class members, also mandates a finding that the settlement is fair, adequate

  and reasonable. Class counsel and the class representative, as well as the defendant

  and its counsel, have approved the terms of the Settlement Agreement and have

  joined in asking this Court for approval. There have been no objections to the

  settlement whatsoever and all agree that the proposed settlement is in the best

  interests of the parties involved. The settlement was arrived at after intense

  settlement negotiations by counsel. The Court is entitled to rely on the judgment of

  experienced counsel in its evaluation of the merits of a class action settlement.

  Cotton v. Hinton, 559 F.2d 1326, 1330 (5th Cir. 1977).         The Court finds no

  evidence that plaintiffs' counsel has not worked in good faith to secure a good and

  fair settlement.

        As part of the fairness determination, the Court must also assess the reason-

  ableness of any proposed award of attorney's fees and expenses sought by

  plaintiff's counsel. Strong v. BellSouth, 137 F.3d 844, 849-850 (5th Cir. 1998).

  Plaintiffs' counsel seeks approval of an award of roughly 40% of the gross amount

  of the settlement, which includes $1,626.00 in costs and expenses. For the reasons

  that follow, Court approval for payment by the defendant of these amounts to the

  plaintiffs' counsel should be granted.

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           The Fifth Circuit generally uses the lodestar method for determining

  reasonable attorney's fees in class actions and FLSA actions. Strong, 137 F.3d at

  850. A lodestar is calculated by multiplying the number of hours reasonably

  expended by an appropriate hourly rate in the community for such work. Id. After

  making this calculation, the district court may decrease or enhance the lodestar

  based on the relative weights of the twelve factors set forth in Johnson v. Georgia

  Highway Express, Inc., 488 F.2d 714, 717-19 (5th Cir. 1974).3 The lodestar may

  not be adjusted due to a Johnson factor, however, if the creation of the lodestar

  award already took that factor into account.                         Such reconsideration is

  impermissible double-counting. Heidtman v. County of El Paso, 171 F.3d 1038,

  1043 (5th Cir. 1999). Further, A[t]he lodestar ... is presumptively reasonable and

       3
         The Johnson factors are: (1) the time and labor required; (2) the novelty and difficulty of
  the issues; (3) the skill required to perform the legal services properly; (4) the preclusion of other
  employment by the attorney; (5) the customary fee; (6) whether the fee is fixed or contingent; (7)
  the time limitations imposed by the client or circumstances; (8) the amount involved and results
  obtained; (9) the experience, reputation, and ability of the attorneys; (10) the undesirability of the
  case; (11) the nature and length of the professional relationship with the client; and (12) the
  award in similar cases. Johnson, 488 F.2d at 717-19.

          A[O]f the Johnson factors, the court should give special heed to the time and labor
  involved, the customary fee, the amount involved and the result obtained, and the experience,
  reputation and ability of counsel.@ Migis v. Pearle Vision, Inc., 135 F.3d 1041, 1047 (5th Cir.
  1998) (citation omitted). Three of the Johnson factors, complexity of the issues, the results
  obtained, and preclusion of other employment, are fully reflected and subsumed in the lodestar
  amount. Heidtman, 171 F.3d at 1043, quoting Pennsylvania v. Delaware Valley Citizens' Council
  for Clean Air, 478 U.S. 546, 565, 106 S.Ct. 3088, 92 L.Ed.2d 439 (1986), and Shipes, 987 F.2d
  at 319-22 & n. 9. After Johnson was decided, the ASupreme Court has barred any use of the sixth
  factor,@ whether the fee is fixed or contingent. Walker v. United States Dep't of Housing &
  Urban Dev., 99 F.3d 761, 772 (5th Cir. 1996), citing City of Burlington, 505 U.S. at 567, and
  Shipes, 987 F.2d at 323.

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  should be modified only in exceptional cases.@ Watkins v. Fordice, 7 F.3d 453,

  457 (5th Cir. 1993).

        In this case, all parties have agreed plaintiffs' counsel is entitled to a total of

  40% of the gross settlement amount for attorney's fees. The parties have submitted

  documentation as to the total hours of attorney work performed by plaintiffs'

  counsel, counsels' customary rate of pay, and the expenses incurred by the

  plaintiffs in this litigation. The record shows that class counsels= attorneys= fee is

  based on 70.4 attorney and staff hours, delivered over the course of litigating this

  case, and is supported by fair and reasonable rates and hours. Class counsels=

  rates for work are $125-500 per hour. Class counsel=s rates are consistent with the

  rates charged by both plaintiff and defense attorneys who practice in this district

  and in the Fifth Circuit.      The number of hours class counsel worked was

  reasonable, given the novelty and complexity of the litigation. After a review of

  all of the lodestar factors, the Court finds that the agreed-upon award of attorney¶s

  fees and the proposed award in this case is fair and reasonable. As previously

  noted, a significant amount of time and effort has been expended in the nearly

  three years this case has been pending.           Class counsel's skill, knowledge,

  reputation, and experience is well-recognized in FLSA cases such as this. For all

  of the foregoing reasons, the Court finds that the proposed attorneys= fee award in

  this case is fair and reasonable.

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                                      CONCLUSION

        Considering the foregoing, it is recommended that the Joint Motion for

  Approval of Confidential Settlement Agreement and Release [Doc. 30] and the

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  GRANTED.

        Under the provisions of 28 U.S.C. '636(b)(1)(C) and Fed.R.Civ.P. 72(b),

  parties aggrieved by this recommendation have fourteen days from service of this

  report and recommendation to file specific, written objections with the Clerk of

  Court. A party may respond to another party=s objections within fourteen days after

  being served with of a copy of any objections or responses to the district judge at

  the time of filing.

        Failure to file written objections to the proposed factual findings and/or the

  proposed legal conclusions reflected in the report and recommendation within

  fourteen days following the date of its service, or within the time frame authorized

  by Fed.R.Civ.P. 6(b), shall bar an aggrieved party from attacking either the factual

  findings or the legal conclusions accepted by the district court, except upon

  grounds of plain error. See Douglass v. United Services Automobile Association,

  79 F.3d 1415 (5th Cir.1996).




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          THUS DONE AND SIGNED at Lafayette, Louisiana, this 1st day of April

  2020.




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